               Case 3:20-cv-06145-RJB Document 5 Filed 11/24/20 Page 1 of 3




 1                                                    HONORABLE JUDGE ROBERT J. BRYAN

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 8                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF WASHINGTON
 9                                     AT TACOMA

10    C. P., by and through his parents,
      Patricia Pritchard and Nolle Pritchard;
11    and PATRICIA PRITCHARD,
                                                   Case No. 3:20-cv-06145-RJB
12                                    Plaintiff,
                                                   NOTICE OF APPEARANCE OF
13           vs.                                   GWENDOLYN C. PAYTON FOR BLUE
                                                   CROSS BLUE SHIELD OF ILLINOIS
14    BLUE CROSS BLUE SHIELD OF
15    ILLINOIS,

16                                 Defendants.

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18    TO:            C.P. by and through his parents, Patricia Pritchard and Nolle Pritchard;
19    AND TO:        Sirianni Youtz Spoonemore Hamburger PLLC, their counsel of record;
20    AND TO:        THE CLERK OF THE ABOVE ENTITLED COURT.
21                   NOTICE IS HEREBY GIVEN that Defendant BLUE CROSS BLUE SHIELD
22    OF ILLINOIS hereby enter their appearance in the above entitled action by their attorneys,
23    KILPATRICK TOWNSEND & STOCKTON LLP, Gwendolyn C. Payton without waiving
24    objections as to improper service or jurisdiction, and respectfully request that all papers and
25    pleadings in said cause, other than process, be served upon the undersigned attorneys at their
26    office below stated.
27
     NOTICE OF APPEARANCE OF GWENDOLYN                               KILPATRICK TOWNSEND & STOCKTON LLP
                                                                           1420 FIFTH AVENUE, SUITE 3700
     C. PAYTON FOR BLUE CROSS BLUE SHIELD                                        SEATTLE, WA 98101
     OF ILLINOIS – 1                                                      (206) 626-7713 FAX: (206) 260-8946
            Case 3:20-cv-06145-RJB Document 5 Filed 11/24/20 Page 2 of 3




 1         DATED this 24th day of November, 2020.

 2                                         KILPATRICK TOWNSEND & STOCKTON LLP
 3                                         By       /s/ Gwendolyn C. Payton
                                                    Gwendolyn C. Payton, WSBA No. 26752
 4                                                  gpayton@kilpatricktownsend.com
                                                    1420 Fifth Ave., Suite 3700
 5                                                  Seattle, WA 98101
                                                    Telephone: (206) 626-7714
 6                                                  Facsimile: (206) 623-6793
 7                                    Counsel for Defendant Blue Cross Blue Shield Of Illinois
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     NOTICE OF APPEARANCE OF GWENDOLYN                        KILPATRICK TOWNSEND & STOCKTON LLP
                                                                    1420 FIFTH AVENUE, SUITE 3700
     C. PAYTON FOR BLUE CROSS BLUE SHIELD                                 SEATTLE, WA 98101
     OF ILLINOIS – 2                                               (206) 626-7713 FAX: (206) 260-8946
              Case 3:20-cv-06145-RJB Document 5 Filed 11/24/20 Page 3 of 3




 1                                   CERTIFICATE OF SERVICE

 2          I certify that on the date indicated below I caused a copy of the foregoing document,

 3   NOTICE OF APPEARANCE OF GWENDOLYN C. PAYTON FOR BLUE CROSS BLUE

 4   SHIELD OF ILLINOIS to be filed with the Clerk of the Court via the CM/ECF system. In

 5   accordance with their ECF registration agreement and the Court’s rules, the Clerk of the Court

 6   will send e-mail notification of such filing to the following attorneys of record:

 7          Eleanor Hamburger
            SIRIANNI YOUTZ SPOONEMORE HAMBURGER
 8          3101 WESTERN AVENUE STE 350
            SEATTLE, WA 98121
 9          206-223-0303
            Fax: 206-223-0246
10          Email: ehamburger@sylaw.com
11          I affirm under penalty of perjury under the laws of the State of Washington and the

12   United States that the foregoing is true and correct to the best of my knowledge.

13
            DATED this 24th day of November, 2020.
14
                                                   Kilpatrick, Townsend & Stockton LLP
15
                                                   By: /s/ Gwendolyn C. Payton
16                                                   Gwendolyn C. Payton, WSBA #26752
                                                     gpayton@kilpatricktownsend.com
17
                                            Counsel for Defendant Blue Cross Blue Shield Of Illinois
18

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     CERTIFICATE OF SERVICE – 3                                      KILPATRICK TOWNSEND & STOCKTON LLP
                                                                           1420 FIFTH AVENUE, SUITE 3700
                                                                                 SEATTLE, WA 98101
                                                                          (206) 626-7713 FAX: (206) 260-8946
